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                                In the Matter Of:

                WASHINGTON vs CONTINENTAL TIRE
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                           GARY WASHINGTON

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 1              Q        And are you comfortable moving
 2      forward with today's deposition?
 3              A        I am.
 4              Q        And Mr. Washington, I'm going to
 5      hand you your medication back.                         Thank you.
 6      Mr. Washington, did you review today's -- your
 7      lawsuit -- excuse me -- your complaint in
 8      preparation for today's deposition?
 9              A        No.                 No.   No.
10              Q        No.                 Did you meet with your
11      attorney, Ms. Robinson in preparation for
12      today's deposition?
13              A        Yes.                 Discussion.
14              Q        Okay.                 And I don't want to know what
15      you and Ms. Robinson talked about.                          I just
16      wanted to ask you if you've met with her in
17      preparation for today.                        And I believe your
18      answer to that question is yes.
19              A        Yes.
20              Q        Mr. Washington, what is your date of
21      birth?
                      Redacted for Privacy
22              A                            /1962.
23              Q        Where were you born?
24              A        Charleston in South Carolina.
25              Q        And this will not be filed in the


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1               A      Gary Washington, II.
2               Q      What is the name of your 35-year-old
3       child?
4               A      Rene Michele Washington.
5               Q      Where does Gary Washington, II live?
6               A      In Florida.
7               Q      In what city in the state of
8       Florida?
9               A      Orlando.
10               Q     Where does your daughter, Rene
11      Michele Washington live?
12               A     Outskirts of Atlanta.
13               Q     The outskirts of Atlanta, Georgia?
14               A     Yes.     Johns Creek.
15               Q     Other than the charge of
16      discrimination that you filed against
17      Continental with the E.E.O.C., the South
18      Carolina Human Rights Commission, have you ever
19      filed any other charges of discrimination with
20      the E.E.O.C. or similar state agency against an
21      employer?
22               A     No.
23               Q     Have you ever been a plaintiff in
24      any lawsuit other than the lawsuit that you --
25      you've filed against Continental that we're


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1       discussing today?
2               A      Yes.
3               Q      And what matter were you a plaintiff
4       in?
5               A      I brought a lawsuit against a small
6       business for not paying 60,000 dollars for a
7       contract I helped them to win.
8               Q      Where was that lawsuit filed?
9               A      Richland County.
10              Q      Richland County, South Carolina?
11              A      Yes.
12              Q      Were you the named plaintiff in that
13      lawsuit or was it a business entity was the
14      named plaintiff?
15              A      My business.
16              Q      Your business was the named
17      plaintiff?
18              A      Correct.
19              Q      What business?
20              A      Carolina Procurement Institute.
21              Q      When was that case filed, to the
22      best of your recollection, in Richland County,
23      South Carolina?
24              A      It's awhile.         12 or 13 years ago.
25              Q      You believe that they'd been filed


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1       12 or 13 years ago?
2               A      Yes.
3               Q      And what entity did you name the
4       defendant in that lawsuit?
5               A      Cabra Construction.
6               Q      Can you spell the first name?
7               A      C-A-B-R-A Construction.               I believe
8       that is it.
9               Q      And has that matter been resolved?
10              A      Yes.     We won the 60,000 dollar
11      amount.
12              Q      You recovered 60,000 dollars in the
13      lawsuit against Cabra Construction?
14              A      I did not recover.             I won the case.
15      I did not go further.
16              Q      Other than the lawsuit that you
17      brought against Cabra Construction, have you
18      ever been a plaintiff in any other lawsuit,
19      other than the lawsuit against Continental?
20              A      No.     Not that I can think of.
21              Q      Have you ever been arrested?
22              A      Yes.
23              Q      On how many occasions?
24              A      The D.U.I. that I mentioned to you
25      and then in the military.


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 1              A      I can't recall.             That's when my
 2      mother passed.       I think I was in school getting
 3      signed out.
 4              Q      You said you think you were in
 5      school when it signed out in April 2019?
 6              A      Yes or no, but probably -- I'm not
 7      positively sure.
 8              Q      When you were attending Morris
 9      College, was Continental Tire paying for that?
10              A      No.
11              Q      Was Continental Tire reimbursing you
12      for courses that you were enrolled in at Morris
13      College?
14              A      No.
15              Q      Were you ever employed by Morris
16      College?
17              A      I had a contract with them, yes.
18              Q      Is that a 5,000 dollar contract you
19      obtained from Morris college?
20              A      Yes.     As a contractor.
21              Q      Mr. Washington, we are going talk
22      now about how you came to be employed by
23      Continental Tire.         When did you first start
24      working at Continental Tire?
25              A      Probably late 2017 or beginning of


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 1      '18, I think.        Through a temp service.
 2              Q      So the first time you began working
 3      at Continental Tire, you were engaged through a
 4      temporary staffing service?
 5              A      Yes.
 6              Q      And during your engagement at
 7      Continental as a temporary -- engaged through a
 8      temporary staffing service, what types of duties
 9      were you performing at Continental?
10              A      Preparing tires.
11              Q      Preparing tires?
12              A      It's called -- it's executing a
13      machine that was prepar--- putting all of the
14      materials of the tire together for the end
15      product.     Tire build.
16              Q      Tire build?
17              A      Yes.
18              Q      And just make sure you continue to
19      make your answers audible.             And was this at
20      Continental Sumter, South Carolina plant?
21              A      Yes.
22                     COURT REPORTER:             Ms. Pinson, I'm
23      sorry to interrupt.          But Mr. Washington, could
24      you speak up a little bit.             I'm having a little
25      trouble hearing you.          Thank you so much.               Sorry


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 1              A      Yes.
 2              Q      If you could turn back to the first
 3      page of the document.            In the upper, left-hand
 4      corner, you'll see that there's a date of
 5      application.         The document states June 27th,
 6      2017.    Did I read that correctly?
 7              A      Yes.
 8              Q      Does that sound about right from the
 9      time that you submitted this application for
10      employment with Continental Tire?
11              A      Yes.
12              Q      Now, if you could turn to the third
13      page of the document which is Bates number
14      continental number 7.            In the bottom, right-hand
15      corner.     Up at the top, you're asked to identify
16      some appointment.          Do you see that on this
17      document?
18              A      Yes.
19              Q      And you've identified some previous
20      employers and those are Carolina Procurement
21      Institute and D-E-S-A.            Did I read those
22      correctly?
23              A      Yes.
24              Q      Carolina Procurement Institute, you
25      indicate on this document that you were the


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 1      You provide some references at the top document.
 2              A      Yes.
 3              Q      And the first reference you give is
 4      Loretta --
 5              A      Kneal.
 6              Q      Kneal.
 7              A      Kneal.      It should be K-N-E-A-L.
 8              Q      Loretta Kneal.          And where did you
 9      work with Loretta Kneal.
10              A      At D.E.S.A.
11              Q      You also identify Cynthia Aike.
12              A      It should be A-I-K-E-N.               Aiken.
13              Q      Cynthia Aiken.          Where did you work
14      with Cynthia Aiken?
15              A      She was a client and a business
16      owner.
17              Q      Now, you testified earlier that your
18      employment with Continental Tire first commits
19      through a temporary staffing agency.                  Is that
20      right?
21              A      Yes.
22              Q      At some point, did you become a
23      permanent full-time employee of Continental
24      Tire?
25              A      Yes.


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 1              Q       Does January 2018 sound accurate to
 2      you?
 3              A       Yes.
 4              Q       Did you interview with anyone at
 5      Continental Tire prior to obtaining that
 6      full-time employment in January of 2018?
 7              A       I think Oscar Boyle.
 8              Q       Do you believe you've interviewed
 9      with anyone else at Continental Tire prior to
10      obtaining full-time employment?
11              A       H.R., a lady, I don't remember her
12      name.
13              Q       Anyone else?
14              A       And yes.       A woman that was my
15      trainer.     I don't remember her name.
16              Q       And you were offered full-time
17      employment at the Sumter, South Carolina plant?
18              A       Yes.
19              Q       Do you know who made the decision to
20      hire you as a full-time employee at the Sumter
21      South Carolina plant for Continental?
22              A       The lady I mentioned and Oscar
23      Boyle.      The trainer and Oscar Boyle.
24              Q       Make sure you state that
25      Mr. Washington.


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1               A       Yes.
2               Q       Did you work with South Carolina
3       Sumter plant for the duration of your employment
4       with Continental?
5               A       Yes.
6       (EXHIBIT NUMBER 2
7       MARKED FOR IDENTIFICATION.)
8       By MS. PINSON:
9               Q       Mr. Washington, I'm going to hand
10      you what's marked as deposition exhibit number
11      2.   And Mr. Washington, what does deposition
12      exhibit number 2 appear to be to you?
13              A       Terms and conditions of the contract
14      with Continental Tire and myself.
15              Q       Does it look like an offer of
16      employment with Continental Tire to you?
17              A       Yes.
18              Q       Do you recall receiving this offer
19      of employment from Continental Tire?
20              A       I do.
21              Q       And if you could turn to the second
22      page of the document at the bottom of the
23      document.      Is that your signature?
24              A       Yes.
25              Q       And according to this document, you


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 1      Continental Tire?
 2              A       I don't remember the shift.
 3              Q       And by shift, we mean what hours of
 4      the day you were working at that period of time.
 5      Is that correct?
 6              A       Correct.
 7              Q       And you don't remember what hours of
 8      the day you were working at the time of your
 9      employment at the Sumter plant ended?
10              A       Correct.
11      (EXHIBIT NUMBER 3
12      Marked for Identification.)
13      By MS. PINSON:
14              Q       Mr. Washington, I'm going to hand
15      you deposition exhibit number 3.
16      Mr. Washington, I've just handed to you
17      deposition exhibit number 3.                Is that your
18      signature on the bottom left-hand portion of
19      this document?
20              A       Yes.
21              Q       And then throughout the document,
22      there's various places to initial.                  Are those
23      your initials on the document?
24              A       Yes.
25              Q       When you first began your employment


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1       with Continental as a tire build operator, who
2       did you report to?
3               A       Would you clarify?
4               Q       Sure.      When you first began working
5       as a full-time permanent employee of Continental
6       Tire at the Sumter plant as a tire build
7       operator, do you remember who your direct
8       supervisor was?         Who you reported to directly?
9               A       I believe Oscar Boyle.
10              Q       Did you report to Oscar Boyle as a
11      direc--- directly for the duration of your
12      employment?
13              A       No.
14              Q       So at some point, your direct
15      supervisor changed?
16              A       Depending on the shift, yes.
17              Q       Do you know who Oscar Boyle reported
18      to when -- when you reported directly to
19      Mr. Boyle?
20              A       No.
21              Q       Did he report to Clayton Tucker?
22              A       I don't know if he -- who he
23      reported to.
24              Q       You don't know who Mr. Boyle
25      reported to?


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1       day from Mr. Boyle, do you know one way or the
2       other if he reported to her?                If Mr. Boyle
3       reported directly to her?
4               A       I think that was her -- his boss.
5       Yes.
6               Q       That's what you believed to have
7       been his boss?
8               A       Correct.
9               Q       Was your direct supervisor ever John
10      Stein?
11              A       Yes.
12              Q       When was Mr. Stein your direct
13      Supervisor?
14              A       When I was on the shift and he was
15      over.
16              Q       So you reported to Mr. Stein when
17      you worked the shift that Mr. Stein was
18      responsible for?
19              A       Correct.
20              Q       Do you know when you might have
21      worked a shift for which Mr. Stein was
22      responsible?
23              A       Give me the question again.
24              Q       Sure.     Do you -- do you remember at
25      what periods of time you may have worked a shift


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1               A       Accept with response.
2               Q       Accept with response?
3               A       Yes.
4               Q       Now Mr. Washington, am I correct
5       that during your employment with Continental
6       Tire, you sought some leave under the Family and
7       Medical Leave Act related to the need to care
8       for your wife, Michele?
9               A       Yes.
10              Q       So you had some experience with
11      Continental's F.M.L.A. request process from
12      having sought leave to care for Michele.                        Is
13      that correct?
14              A       Yes.
15              Q       If I refer to the F.M.L.A. today,
16      are we in agreement that I'm referring to the
17      Family and Medical Leave Act?
18              A       Yes.
19              Q       Okay.      And I'll try to refer to the
20      Family and Medical Leave Act, but it's sometimes
21      easier for me to just say F.M.L.A.                   Now, do you
22      recall when your leave under the Family and
23      Medical Leave Act commenced for your need to
24      care for your wife, Michele?
25              A       No.


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 1              Q        Would December of 2018 sound
 2      accurate to you?
 3              A        Yes.
 4      (EXHIBIT NUMBER 8
 5      MARKED FOR IDENTIFICATION.)
 6      By MS. PINSON:
 7              Q        Mr. Washington, I'm going to hand
 8      you deposition exhibit number 8.                 All right.
 9      Mr. Washington, I've just handed you deposition
10      exhibit number 8.         Does this appear to be an
11      F.M.L.A. leave request form that you completed
12      during your employment with Continental Tire?
13              A        Yes.
14              Q        And there's handwriting on the
15      document.      Is that your handwriting on the first
16      page of deposition exhibit number 8?
17              A        Yes.
18              Q        And if you could turn to the second
19      page of deposition exhibit number 8, there's an
20      employee statement at the top, on the second
21      page.       Is that your signature under the employee
22      statement?
23              A        Correct.
24              Q        And according to this document, you
25      completed this F.M.L.A. leave request form on


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·1· ·December the 13th, 2018.· Does that sound right
·2· ·to you?
·3· · · · ·A· · ·No.
·4· · · · ·Q· · ·When do you believe you completed
·5· ·this form?
·6· · · · ·A· · ·I believe it was the date that I put
·7· ·on the -- on the document initially.
·8· ·12/13/2015.· But that was incorrect at that time
·9· ·and I just -- and they told me what I needed to
10· ·do and I did it.· But initially, when Michele
11· ·went into a coma, I just did whatever they told
12· ·me to do.· I put the two-thousand--- 12/13/2015
13· ·and then the person just said, this is what you
14· ·need to do.· And they -- they just said, you
15· ·initial this, this and this leave.· And I did
16· ·it.· But it -- it had to be in 2018.
17· · · · ·Q· · ·Okay.· So --
18· · · · ·A· · ·But the document says 2015.
19· · · · ·Q· · ·Well, if you turn to the second page
20· ·of the document --
21· · · · ·A· · ·Yes.
22· · · · ·Q· · ·Beside your signature on the second
23· ·page of the document, there is a date.· Do you
24· ·see the second page of the document that I've
25· ·handed to you?


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·1· · · · ·A· · ·I do.
·2· · · · ·Q· · ·It's Bates number Continental 18.
·3· ·Can you please turn to that?
·4· · · · ·A· · ·Yes.
·5· · · · ·Q· · ·And you see beside your signature,
·6· ·December the 13th, 2018?
·7· · · · ·A· · ·That's right.
·8· · · · ·Q· · ·Is that the accurate date that you
·9· ·submitted this leave request form?
10· · · · ·A· · ·Yes.
11· · · · ·Q· · ·And so the date that's on the first
12· ·page of deposition exhibit number 8, where it
13· ·indicates December 13, 2015, that was an error?
14· · · · ·A· · ·To me, at the time, it was not an
15· ·error.· I was discombobulated.· But the bottom
16· ·line is, it had to be an error.· Because I wrote
17· ·it and then I signed it saying it was correct.
18· ·Because on -- on the final page where it says
19· ·12/18/18, all of the information had to be
20· ·correct.· So I was saying that 2015 was correct.
21· ·But nonetheless, it was 2018.· I was not at
22· ·Continental in 2015, although I wrote this.· So
23· ·that was an error.
24· · · · ·Q· · ·Okay.· So the error, 12/13/15.
25· ·Okay.· Now, on this document -- in the middle


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 1      portion of the document, you indicate on here
 2      that you need leave to care for your spouse.                      Is
 3      that right?      Michele?
 4              A       Yes.
 5              Q       Now, am I correct that on this
 6      form -- if you look at the middle part of
 7      Continental 17, there's also a place that you
 8      can check to seek leave to care for your parent.
 9      Do you see that?
10              A       When was that notation?
11              Q       Sure.     On the first page of
12      deposition exhibit number 8 which is Continental
13      17.    Am I correct that there's also an
14      opportunity for someone to say that they needed
15      leave to care for their parent?
16              A       Correct.       I see that.
17              Q       Okay.     And in fact, you
18      inadvertently selected that you needed to leave
19      to care for your parent at first and then
20      corrected that.        That it was for your spouse,
21      Michele.     Is that right?
22              A       That's right.
23              Q       Now, how did you get deposition
24      exhibit number 8?         How did you come to obtain it
25      and complete it?         Do you remember?


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 1              A       Based on this date, I think it was
 2      H.R. that called me.           Ashley Cox.         And took me
 3      upstairs to her office.            And I signed and filled
 4      this out.
 5              Q       So you believe someone at H.R. gave
 6      you deposition exhibit number 8 to complete?
 7              A       Yes.
 8              Q       And do you recall who you submitted
 9      this form to or did you give it to Ashley Cox?
10              A       On the spot.         We did it right there
11      in the office.        Yes.
12              Q       And you believe Ashley Cox was in
13      human resources at the Continental Sumter Plant?
14              A       Well, I never knew her, but she was
15      in charge of getting me vacation or time away to
16      go be with Michele.
17              Q       Okay.
18              A       So I would imagine, at the time she
19      had to be H.R.
20              Q       So Ashley Cox helped you with
21      obtaining time away to care for your wife,
22      Michele?
23              A       Yes.
24              Q       Now, other than this form that you
25      completed, this deposition exhibit number 8 for


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 1      the time that you needed away -- away from work
 2      to care for your wife, Michele, did you ever
 3      request or complete this form any other time
 4      during your employment with Continental?
 5              A       I do not believe so, no.
 6              Q       If you could turn to the last page
 7      of deposition exhibit number 8 which is marked
 8      Continental 21 in the bottom, right-hand corner.
 9      Do you see it, Mr. Washington?
10              A       I do.
11              Q       Is that your signature on deposition
12      exhibit number 8 at Continental Bates number 21?
13              A       Yes.
14              Q       And there's an employee number on
15      the document.        Was that your employee number
16      during your employment with Continental on the
17      last page of deposition exhibit number 8?
18              A       Yes.
19              Q       Do you remember signing deposition
20      exhibit number 8 at Continental 21?
21              A       Yes.     I do remember signing this.
22                      MS. PINSON:        Okay.      We'll go off the
23      record and take a quick bathroom break.
24                      (OFF THE RECORD)
25                      MS. PINSON:        Amber and


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 1      Mr. Washington, I just want to put something on
 2      the record before we continue the deposition.
 3      At approximately 11:00 this morning,
 4      Mr. Washington indicated that he needed to
 5      attend to a matter at work.                We agreed to
 6      accommodate Mr. Washington and to take an early
 7      lunch and allow Mr. Washington until noon to
 8      attend to the matter and return for his
 9      deposition.      He has now returned for the
10      continuation of his deposition.                 While the
11      parties will take some additional short breaks
12      throughout the day to use the restroom and the
13      like, the parties have agreed not to break for
14      lunch to accommodate Mr. Washington's need to
15      depart a few minutes ago to attend to a work
16      matter.     Amber, does that accurately summarize
17      our agreement?
18                      MS. ROBINSON:         That does.        Thank
19      you.
20                      MS. PINSON:        Mr. Washington, are you
21      ready to continue?
22                      THE DEPONENT:         I am.
23                      MS. PINSON:        Thank you.
24      By MS. PINSON
25              Q       All right.        Mr. Washington, you may


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 1      remember before you departed that we were
 2      talking about a leave of absence that you took
 3      under the Family and Medical Leave Act to attend
 4      to -- need to care for -- need to care for your
 5      wife.    Do you recall us talking about that?
 6              A       Yes.
 7      (EXHIBIT NUMBER 9
 8      MARKED FOR IDENTIFICATION.)
 9      By Ms. Pinson:
10              Q       Okay.     And if -- I'm going to hand
11      you now what's was going to be marked as
12      deposition exhibit number 9.                Mr. Washington,
13      deposition exhibit number 9 has just been handed
14      to you.     And if you can look at the middle
15      portion of the first page under section two.                      Do
16      you see section two of the document?
17              A       Yes.
18              Q       And is that your handwriting under
19      section two of the document?
20              A       Yes.
21              Q       And if you look at the bottom of
22      deposition exhibit number 9 on the first page,
23      is that your signature at the bottom of the
24      document?
25              A       Yes.


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1               Q       And it appears you signed this
2       document on December the 13th, 2018.                    Does that
3       sound right to you?
4               A       Yes.
5               Q       This form that you completed on the
6       first page, that's deposition exhibit number 9,
7       how did you obtain this form to complete it?                       Do
8       you remember?
9               A       I believe I received this from
10      Ashley Cox.
11              Q       And Ashley Cox is in human resources
12      at Continental?
13              A       Yes.
14              Q       And other than completing this form
15      for the leave that you took to care for your
16      wife, Michele, did you ever complete this form
17      or request it for any other leave during your
18      appointment with Continental?
19              A       No.
20      (EXHIBIT NUMBER 10
21      MARKED FOR IDENTIFICATION.)
22      By MS. PINSON:
23              Q       Mr. Washington, I'm going to hand
24      you what's going to be marked as deposition
25      exhibit number 10.           Mr. Washington, I just


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 1      handed you deposition exhibit number 10.                       What
 2      does this document appear to be to you?
 3              A       A designation of notice.
 4              Q       Under the Family and Medical Leave
 5      Act?
 6              A       Yes.
 7              Q       Do you recall receiving this form,
 8      designation notice, under the Family and Medical
 9      Leave Act during your employment with
10      Continental?
11              A       I do not.
12              Q       Was your leave for the need to care
13      for your wife when she had serious illness, was
14      that leave under the Family and Medical Leave
15      Act approved by Continental?
16              A       Yes.
17              Q       At the top of the page, there's an
18      e-mail address on deposition exhibit number 10.
19      Is that your e-mail address or was it an e-mail
20      address you maintained?
21              A       Yes.
22              Q       Is that an e-mail address you
23      maintained in 2019?
24              A       I think so, yes.
25              Q       Do you still use the e-mail address


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 1      expected to review an employee handbook when you
 2      were employed at Continental?
 3              A       No.
 4              Q       When you were employed at
 5      Continental, did you understand that Continental
 6      had an attendance policy?
 7              A       Yes.
 8              Q       Okay.      And I believe you run a
 9      business.      Is that fair to say?
10              A       Correct.
11              Q       Do you expect your -- do you have
12      any employees in your business?
13              A       Not right now, no.
14              Q       Have you ever had employees in your
15      business?
16              A       Yes.
17              Q       The employees that you have in the
18      businesses that you run, do you appreciate good
19      attendance from your employees?
20              A       Yes.
21      (EXHIBIT NUMBER 11
22      MARKED FOR IDENTIFICATION.)
23      By MS. PINSON:
24              Q       Mr. Washington, I'm going to hand
25      you what's being marked as deposition exhibit


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 1              Q       Mr. Washington, did your mother pass
 2      away in April of 2019?
 3              A       Yes.
 4              Q       Did she pass away on April the 10th
 5      of 2019?
 6              A       Yes.
 7              Q       And following your mother's death on
 8      April the 10th of 2019, did you receive three
 9      days of paid bereavement leave related to her
10      passing from Continental?
11              A       I'm not aware.
12              Q       Do you know one way or the other
13      whether Continental gave you three days of
14      bereavement leave related to the death of your
15      mother?
16              A       I don't remember.             I don't know.
17              Q       Did your employment at Continental
18      terminate?
19              A       Yes.
20              Q       Do you know on what date Continental
21      terminated your employment?
22              A       No.
23              Q       Do you know who made the decision to
24      terminate your employment at Continental?
25              A       Yes.


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1       else he shared with you during that
2       conversation?
3               A       That I should have called him
4       before.
5               Q       And what did Mr. Tucker -- did
6       Mr. Tucker elaborate on what he meant by you
7       should have called him before?
8               A       No.
9               Q       Was Mr. Tucker referring to you
10      should have called to let him know you weren't
11      going to be at work?
12              A       No.
13              Q       But you don't know what Mr. Tucker
14      was referring to?
15              A       No.     Not at the time, no.
16              Q       Okay.      Do you know when Continental
17      made the decision to terminate your employment?
18              A       I would say, no.             When he told me,
19      he had that hour, I think.
20              Q       That wasn't my question.                My
21      question was, do you know when the decision was
22      made to terminate your employment?                   What day?
23              A       To answer your question, no.
24              Q       Mr. Washington, do you know whether
25      Continental Tire at the Sumter Plant has


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1       terminated other employees for excessive
2       absences?
3               A       I would not know.
4               Q       Are you aware of any employee at
5       Continental, at the Sumter Plant, who exceeded
6       the allowed, unauthorized or unexcused absences
7       under Continental's attendance policy who was
8       not terminated?
9               A       I would not know.
10              Q       Mr. Washington, are you aware of any
11      employee at Continental who exceeded six
12      attendance points in violation of Continental's
13      attendance policy who was not terminated?
14              A       Same answer.         I do not know.
15              Q       After your employment terminated,
16      Mr. Washington, do you know whether Continental
17      posted a vacancy for your tire build operator
18      position?
19              A       I do not know.
20              Q       Mr. Washington, do you know if
21      Continental filled your position?
22              A       Yes.
23              Q       And who do you believe Continental
24      filled your position with?
25              A       I don't know.


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1       Oscar Boyle?
2               A        Correct.
3               Q        And these appear to -- at the top,
4       there's a message from you to Mr. Boyle on
5       February the 26th, 2019 that states, okay.                      Is
6       that right?
7               A        On the 26th.        Let's see.        I see
8       where it says February 26th and it says, okay.
9               Q        Right.     On February the 26th, 2019,
10      you say okay to Oscar.            Is that right?
11              A        Yes.
12              Q        And then it looks like on April the
13      12th, 2019, at 7:04 in the morning, you send a
14      message to Oscar.         Is that right?
15              A        Yes.
16              Q        And you share with Oscar Boyle on
17      April the 12th, 2019 that your mother passed
18      away.       Is that right?
19              A        Yes.
20              Q        And do you remember sending this
21      message to Mr. Boyle?
22              A        Yes.
23              Q        And in this message, you also tell
24      Mr. Boyle that you let -- I shared with Sup
25      John.       Are you saying that you shared this


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1       information with your -- with supervisor, John
2       Stein as well?
3               A       Yes.
4               Q       And had you already shared the
5       information with John Stein at the time you sent
6       this message on April 12th, 2019 at 7:04 in the
7       morning to Mr. Boyle?
8               A       Yes.
9               Q       And how did you share with Mr. Stein
10      that your mother had passed away?                   Was it by
11      text, by phone call?            Do you remember?
12              A       Through the system -- the telephone
13      system that we have to call in.
14              Q       Okay.      So you --
15              A       And they gave me a code number and
16      the lady said she would transfer me and it just
17      dropped off.         And then I called her back, but I
18      had the little number.
19              Q       Okay.      So if I'm understanding your
20      testimony, you called into the -- to the call-in
21      number that Continental has available for
22      employees to utilize when they're going to be
23      absent to let Mr. Stein know that you were going
24      to be absent and that your mom had passed away.
25      Is that right?


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1               A       Yes, I believe so.
2               Q       And when you messaged Mr. Boyle on
3       April the 12th, 2019 to let him know that your
4       mother passed away, what was Mr. Boyle's
5       response to your message?
6               A       To this message, he said get things
7       squared with it.         Prior to, I told him the same
8       day my mom passed.          But it's not on a text.
9               Q       Well, my -- my question to you first
10      is, what did Mr. Boyle say to you in the text
11      message?
12              A       I'm sorry to hear this news.                   Just
13      as soon as you all make plans, just let me know
14      and we can go from there.
15              Q       Okay.     And you had talked to
16      Mr. Boyle in a telephone conversation prior to
17      this text message exchange?
18              A       I believe it was a text message -- I
19      mean, a phone call --
20              Q       And --
21              A       -- that had been made and through
22      someone to let him know what was going on.
23              Q       And what did Mr. Boyle say in that
24      communication?
25              A       That he is praying for my family.


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 1              Q       Mr. Boyle said he was praying for
 2      your family?
 3              A       Right.
 4              Q       After your mother passed away on
 5      April the 10th, 2019, did you ever return to
 6      work at the Continental Sumter plant?
 7              A       No, I did not return.               No.
 8              Q       Do you know if you were scheduled to
 9      work on April the 15th of 2019?
10              A       No.
11              Q       No, you do not know?
12              A       Correct.
13              Q       I'm going to hand you a calendar
14      that represents April the 15th of 2019 so we
15      could refer to if that might be helpful.
16              A       Uh-huh.
17      (EXHIBIT NUMBER 13
18      MARKED FOR IDENTIFICATION.)
19      By MS. PINSON:
20              Q        I hand to you deposition exhibit
21      number 13, which represents an April ninety---
22      April, 2019 calendar that I've printed just to
23      help for our discussion.              Now, if you look at
24      that calendar, Mr. Washington, April 15th, 2019
25      is a Monday.         Is that right?


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1       right?
2               A        At --
3               Q        If you look at the bottom of
4       deposition exhibit number 12 --
5               A        Yes.
6               Q        -- on April the 19th, 2019, at 8:43
7       in the morning, you send a message to Oscar
8       Boyle.       Is that right?
9               A        Yes.
10               Q       And does that message then continue
11      on at the top of deposition exhibit number 14?
12               A       I don't see a date or time.
13               Q       Well --
14               A       But I do see that the funeral was
15      good -- the funeral was good, complete.                    I'll be
16      back.       Could you respond back if John need me to
17      fill out any paperwork.            I need to fill out any
18      paperwork.      Yes.     It looks like a continuation.
19               Q       Okay.    So these are just two
20      separate screenshots of the same conversation
21      that continues from deposition 12 into 14.                      Is
22      that right?
23               A       Yes.    I believe so.
24               Q       And so on April of 2019 at 8:43 in
25      the morning, you let Mr. Boyle know that your


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1       mother's funeral was complete and that you would
2       be back to work on April the 23rd.                  Is that
3       right?
4               A        Yes.
5               Q        Okay.    And then his response to you
6       is that you get three days paid bereavement
7       leave.       Is that right?
8               A        Yes.    I see that.
9               Q        And he also advises you that
10      anything over four days, you would need to go
11      through human resources and claim.                  Do you see
12      that?
13               A       Yes.
14               Q       And is -- he's referring to Clayton
15      Tucker there?
16               A       Yes.    I believe so.
17               Q       And what is your response to
18      Mr. Boyle when he tells you you get three days
19      paid bereavement leave and that anything
20      additional, you need to go through H.R. or
21      Clayton Tucker?
22               A       I said, okay.        Thank you or thanks.
23               Q       And do you also tell him that you'll
24      be there at work on April 23rd after class?
25               A       Yes.


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 1              Q       What day was your mother's funeral?
 2              A       I don't remember.
 3      (EXHIBIT NUMBER 15
 4      MARKED FOR IDENTIFICATION.)
 5      By MS. PINSON:
 6              Q       Mr. Washington, I'm going to hand
 7      you deposition exhibit number 15, which I'll
 8      represent to you is an obituary from your
 9      mother's funeral.
10              A       Uh-huh.
11              Q       And if you look at that obituary, it
12      indicates that your mother's funeral would take
13      place on Thursday, April the 18th, 2019.                       Is
14      that correct?
15              A       Correct.
16              Q       Okay.     So your mother's funeral had
17      already taken place at the time that you
18      messaged Mr. Boyle on April 19th, 2019.                    Is that
19      accurate?
20              A       Yes.
21              Q       You -- you advised Mr. Boyle in the
22      text message exchange on April the 19th, 2019,
23      at the top of deposition exhibit number 14, you
24      say, could get any response from John if I
25      needed to fill out any paperwork.                  God bless,


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1       Gary.    Are you -- who are you referring to when
2       you say John?
3               A       John Stein.
4               Q       Okay.      So had you reached out to
5       John Stein as of April the 19th, 2019?
6               A       Well, before that too.
7               Q       And did you ask Mr. Stein for
8       paperwork?
9               A       No.     I just told him what was going
10      on and he said go back to work and then he'll
11      get with me, but I never talked to him really.
12              Q       And when was this conversation with
13      Mr. Stein?
14              A       I don't know the date.               It's time
15      that I was at work.
16              Q       So Mr. Boyle, on deposition exhibit
17      number 14, tells you that if you want anything
18      above three days paid bereavement leave, that
19      you need to go through human resources.                     Do you
20      see that?
21              A       I see that.
22              Q       Did you ever talk to human resources
23      about taking any additional leave after April
24      19th, 2019?
25              A       No.


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 1              Q        And you told Mr. Boyle you would
 2      return for work on April the 23rd, 2019, after
 3      class.       Is that right?
 4              A        Yes.
 5              Q        When you refer to class, are you
 6      talking about classes at Morris College?
 7              A        I believe so, yes.
 8              Q        So as of April the 19th, 2019, you
 9      had represented to Mr. Boyle that you intended
10      to go to class at Morris College on April the
11      23rd, 2019.      Is that correct?
12              A        Or drone class.           I'm not sure which
13      one.     But yes.
14               Q       Or what type of class?
15               A       Drone.
16               Q       Drone?
17               A       Yes.
18               Q       So you don't recall which type of
19      class you intended to go to, but you were either
20      going to go to drone class or classes at Morris
21      College on April the 23rd, 2019?
22               A       Yes.
23               Q       Do you know if you went to class on
24      April the 23rd, 2019?
25               A       I don't know if I did.


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1       letting them know what was going on.
2               Q       Now, the message that you said you
3       left for John Stein, is that a message directly
4       to him or just a message that you left on the
5       call-in number?
6               A       The call-in number, there's a person
7       who picks up the phone.
8               Q       Uh-huh.
9               A       That person is who I gave the
10      message to and they would get that to the
11      supervisor.
12              Q       Okay.
13              A       And when they return, they would
14      give you a number and say, the maintenance or
15      whoever you're calling.
16              Q       Do you know when you called into
17      report that you would not be at work on April
18      the 19th, 2019?
19              A       I don't know if I did, no.
20              Q       So you don't know if you called in
21      to report that you would be absent on April the
22      19th, 2019?
23              A       Correct.
24              Q       Do you know if you were assessed any
25      attendance points for April the 19th, 2019?


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1               A       No.
2               Q       No, you do not know?
3               A       I do not know.
4               Q       Do you know if you were assessed any
5       attendance points for April the 20th, 2019?
6               A       No.
7               Q       Is that no, you do not know?
8               A       No, I do not know.
9               Q       Do you know if you were assessed any
10      attendance points for April the 21st, 2019?
11              A       No.
12              Q       Is that no, you do not know?
13              A       No, I do not know.
14              Q       Now, you had represented on April
15      the 19th, 2019, that you would return to work on
16      the evening of April 23rd in this message to
17      Oscar Boyle.         Is that right?
18              A       Be back on the 23rd.
19              Q       Is that -- so you represented to him
20      you would be at work on the 23rd of April?
21              A       Yes.
22              Q       Did you go back to work on the 23rd
23      of April of 2019?
24              A       No.
25              Q       Did you call in to report your


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1       absence for April the 23rd, 2019?
2               A        No.
3               Q        Do you know if an attendance point
4       was assessed for your absence on April the 23rd,
5       2019?
6               A        No.
7               Q        Is that no, you do not know?
8               A        No, I do not know.
9               Q        Did you return to work at
10      Continental at any point after April the 23rd,
11      2019?
12              A        No.
13              Q        Were any of your absences -- strike
14      that.       If you could turn back to deposition
15      exhibit number 14.            Do you see the bottom of
16      deposition exhibit number 14?
17              A        Yes.
18              Q        Okay.      And it looks like after you
19      had told Mr. Boyle that you would be at work by
20      April the 23rd, hi--- your next message to him
21      is April the 27th, 2019.               Is that correct?
22              A        27, yes.
23              Q        Did you talk to Mr. Boyle between
24      April the 19th, 2019 and April the 27th, 2019 in
25      any other -- in any other way, by -- by phone,


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1       told not to come in, so I would not have called
2       to excuse myself.
3               Q       Were any of your absences following
4       exhaustion of your bereavement leave for your
5       mother's death -- death -- excuse me -- in April
6       2019, were you advised that any of your absences
7       were excused other than the three days you
8       received for bereavement leave?
9               A       I don't know.          No.
10              Q       You don't know?
11              A       No.     I -- I didn't -- I didn't see
12      it.    This is the only communication I had.
13      Correct.
14              Q       And when you're saying the only
15      communication you had, you're referring to the
16      text message exchanges that you just pointed to
17      that are deposition exhibits number 12 and 14?
18              A       Correct.
19              Q       At the time your employment
20      terminated at Continental, do you know how many
21      attendance points you had accumulated?
22              A       No.
23              Q       No, you do not know?
24              A       No, I do not know.
25              Q       Prior to the conversation that


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 1              A       It was something like this, yes,
 2      what I needed to get to get -- pay for classes.
 3      (EXHIBIT NUMBER 20
 4      MARKED FOR IDENTIFICATION.)
 5      By Ms. Pinson:
 6              Q       I'm handing you deposition exhibit
 7      number 20.      Mr. Washington, does this appear to
 8      be the charge of discrimination that was
 9      submitted to the equal employment opportunity
10      commission following the termination of your
11      employment from Continental?
12              A       Yes.
13              Q       Is that your signature at the bottom
14      left-hand corner of the document?
15              A       Yes.
16              Q       And you signed that document on
17      October the 15th, 2019.            Is that correct?
18              A       Yes.
19              Q       And I'm I correct, in that signing
20      it, you declared under penalty of perjury that
21      everything above your signature is true and
22      correct?
23              A       Yes.
24              Q       And if you could turn to the second
25      page of the document.           Do you see that, it's


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1       Bates number Continental 99?
2               A       Yes.
3               Q       Is that information that was
4       completed by you or by a lawyer on your behalf?
5               A       This is completed by the attorney,
6       not me.
7               Q       And was that Attorney Alex Kelly?
8               A       Correct.
9               Q       Did you share information with
10      Mr. Kelly that helped him prepare the second
11      page of your E.E.O.C. charge?
12              A       Yes.
13              Q       And does this E.E.O.C. charge appear
14      to be an accurate copy of the charge of
15      discrimination inclusive of the supplement
16      that's at page two that was submitted to the
17      E.E.O.C.?
18              A       Yes.
19              Q       And if you look at the top of the
20      document on the first page of deposition exhibit
21      number 20 --
22              A       Uh-huh.
23              Q       -- you provide your address as 420
24      Lane Chase, Johns Creek, Georgia 30097.                    Did I
25      read that correctly?


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 1              Q       Do you know what shift -- strike
 2      that.    We discussed -- we discussed earlier
 3      today communications that you had with Oscar
 4      Boyle advising him that you would return to work
 5      on April the 23rd, 2019.              Do you recall those
 6      conversations?
 7              A       Yes.
 8              Q       Okay.      Do you know what shift you
 9      were scheduled to work on April 23rd, 2019?
10              A       No.
11              Q       No, you do not know?
12              A       I do not know.
13              Q       So if you could turn back to exhibit
14      numbers 12 and 13, which are be text message
15      exchanges that you had with Oscar Boyle.                        And
16      just let me know when you're there.
17              A       I'm there.
18              Q       So if you could turn to exhibit
19      number 14.
20              A       Yes.
21              Q       And on April the 19th, 2019,
22      Mr. Boyle tells you you get three days paid
23      bereavement leave.           Is that correct?
24              A       Yes.
25              Q       And beyond Mr. Boyle telling you


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 1      that you had three days of bereavement leave
 2      available after your brother's death on April
 3      the 10th, 2019, did anyone at Continental tell
 4      you that any absences would be excused?
 5              A       No.
 6              Q       All right.         So I'd like to turn back
 7      to your complaint, which I believe is deposition
 8      exhibit number 16, your second amended
 9      complaint.
10              A       Yes.
11              Q       Okay.      So in paragraph number 15, do
12      you see that?
13              A       Yes.
14              Q       You state that on April the 3rd,
15      2019 you notified your supervisor John Stein
16      that your mother had -- mother had been admitted
17      to the I.C.U. and was near death.                   Did I read
18      that correctly?
19              A       Yes.
20              Q       And then you also allege in
21      paragraph 16 that you asked Mr. Stein for
22      permission to go on a leave of absence to care
23      for your mother.          Did I read that correctly?
24              A       You read that right.
25              Q       Okay.      Is -- is that accurate?               Did


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 1      you ask Mr. Stein what you represent in
 2      paragraph 16?
 3              A       I don't know if that's so because I
 4      -- I remember speaking with him face to face.
 5      And that was when I told him my mother was
 6      deathly ill and I left.             And I didn't talk to
 7      him after that.
 8              Q       Okay.      So -- so after April the 3rd,
 9      2019, you never talked to Mr. Stein again?
10              A       I'm not sure, but I do know that it
11      was -- my last conversation was face to face.
12              Q       With Mister -- your last
13      conversation with Mr. Stein was face to face?
14              A       Correct.
15              Q       And you never returned to work after
16      April the 3rd, 2019 at the Continental Sumter
17      Plant.      Is that correct?
18              A       I'm not certain because she passed
19      on the 10th.         I would have to look.
20              Q       Do you know your last day that you
21      reported to work at the Continental Sumter
22      Plant?
23              A       I do not.
24              Q       And then paragraph 17, Mis--- you
25      state in this complaint, Mr. Stein agreed and


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 1      asked Mr. Washington to keep him updated.
 2              A       Right.
 3              Q       So Mr. Stein agreed to let you take
 4      some time to care for your mother?
 5              A       Yes, that's face to face at the job.
 6              Q       Was anyone else present to this
 7      conversation that -- that you just -- that's
 8      described in paragraphs 15, 16 and 17 of your
 9      second amended complaint?
10              A       I don't recall.
11              Q       So sitting here today, you can't
12      identify any other witness to this conversation?
13              A       I do not recall.
14              Q       Did you tell -- and this
15      conversation occurred on April the 3rd, 2019?
16              A       I'm not certain the date that it
17      happened.      I just know it was traumatic for me.
18      I took -- I was authorized to leave.
19              Q       Okay.     Mr. Stein authorized you to
20      leave?
21              A       I think he got the authority from
22      Mr. Boyle.      I don't know.         I just know that
23      after I told him, he stepped out then he stepped
24      back in and says, you can go.
25              Q       Okay.     And then your mother passed


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1               A       I never spoke with him.
2               Q       Do you know if Mr. Stein tried to
3       call you back?
4               A       Yes.
5               Q       So Mr. Stein tried to call you back,
6       but you never --
7               A       No.
8               Q       -- spoke with him?
9               A       No.     I'm aware -- to answer your
10      question, I'm aware -- I would be aware if he
11      tried to call me because it would have came to
12      my phone, my cellphone or my voice mail.
13              Q       Now, if your cell phone was off and
14      Mr. Stein did not leave a voice mail message,
15      would you have any way to know that Mr. Stein
16      attempted to call your cell phone?
17              A       No.
18              Q       When you had this conversation with
19      Mr. Stein -- face to face with him, which I
20      believe you said was prior to attempting to
21      connect with him by phone.                  Is that right?
22              A       Yes.
23              Q       When you had the face-to-face
24      conversation with Mr. Stein and you told him
25      about your mother's illness and wanting to take


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1       some time, did you ask Mr. Stein for
2       F.M.L.A. leave during that face-to-face
3       conversation?
4               A       No.
5               Q       During that face-to-face
6       conversation with Mr. Stein, did you mention
7       F.M.L.A. leave at all during that conversation?
8               A       No.
9               Q       Now, when you attempted to be
10      patched through to Mr. Stein using the call-in
11      number, you never got connected to him.                     Is that
12      correct?
13              A       Correct.
14              Q       And so you never talked to him again
15      after the face-to-face conversation?
16              A       Correct.
17              Q       So when you called in to the call-in
18      number and asked to be connected to Mr. Stein,
19      do you know who you spoke with?
20              A       No.     A female.
21              Q       And other than it being a female,
22      you don't know who it was you spoke with?
23              A       No.
24              Q       Do you know what depart--- do you
25      know if they're a Continental employee or if


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 1              A       No.     But the code would do that.
 2              Q       What do you mean the code would do
 3      that?
 4              A       There is a code that is issued to
 5      validate that you were -- before the time you
 6      were supposed to work that you contacted them
 7      and made them aware, so they could put someone
 8      in your place.         That code would identify with
 9      whoever issued it or how it came about, so it
10      would be a timeline with that.                 And I do
11      believe -- I don't know if it was recorded, but
12      I do know that that's why I waited for a
13      response.      You don't keep -- after you do what
14      you're supposed to do -- that's what you're
15      supposed to do and then they will contact you
16      and move forward.
17              Q       Okay.      My question is a little bit
18      different.      My question is, was there anyone
19      else on the phone call with you and the
20      switchboard person when you --
21              A       No.
22              Q       -- had a conversation with her?
23              A       The answer is no.
24              Q       Who with Continental do you contend
25      retaliated against you under the F.M.L.A.?


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 1              A       I contend that it's John Stein.
 2              Q       Anyone other than John Stein?
 3              A       No.
 4              Q       Is it your contention that Mr. Stein
 5      retaliated against you when your employment
 6      terminated?
 7              A       No.
 8              Q       So how do you contend that you were
 9      retaliated against?           How do you contend that
10      Mr. Stein retaliated against you in violation of
11      the F.M.L.A.?
12              A       Communications, things that he said
13      to me.
14              Q       Anything else?
15              A       Places where he removed me from and
16      put me -- located me.
17              Q       Anything else?
18              A       The attitude toward me.
19              Q       Anything else?
20              A       That's it.
21              Q       That's it?
22              A       Correct.
23              Q       What communications are you
24      referring to that Mr. Stein allegedly made to
25      you or with you?


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1               A       He asked me my age several times.
2       He asked me when I was going to retire.                    He
3       called me old man.          And he pulled me from the
4       job that I was hired to do to work in a -- poor
5       conditions and a -- contrary to what he would do
6       with the other individuals that were my peers
7       and of my -- they would -- they were younger
8       than me.
9               Q       Do you know if Mr. Stein played any
10      role in the decision to terminate your
11      employment?
12              A       I don't know.
13              Q       So I asked you to identify what
14      actions you believe Mr. Stein took against you
15      to retaliate against you in violation of the
16      Family and Medical Leave Act and one of the
17      topics you mentioned was communications.                       And I
18      asked you what those were and you mentioned that
19      Mr. Stein asked you about your age, asked you
20      when you were going to retire and allegedly
21      called you an old man.            We'll talk about those
22      topics under your age discrimination claim, but
23      I'm trying to understand what actions Mr. Stein
24      took against you to retaliate against you in
25      violation of the Family and Medical Leave Act.


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1               A       They're in there, on the Family and
2       Medical Leave Act.           I was referring to
3       discrimination.
4               Q       So you don't believe Mr. Stein took
5       any action against you to retaliate against you
6       in violation of the Family and Medical Leave
7       Act?
8               A       I don't know.
9               Q       So sitting here today, you don't
10      know whether Mr. Stein did anything to retaliate
11      against you in violation of the Family and
12      Medical Leave Act?
13              A       Correct.
14              Q       Did anyone at Continental ever tell
15      you that you were being terminated for invoking
16      any rights under the FMLA?
17              A       No.
18              Q       Did anyone at Continental ever make
19      any negative comment related to your need to be
20      absent to care for your wife Michele?
21              A       No.
22              Q       Other than what we've talked about
23      thus far, is there any other basis for your FMLA
24      retaliation claim?
25              A       Based on what we've talked about,


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 1      that's it.
 2              Q       Okay. So other that what we've
 3      talked about, there's no other basis for your
 4      FMLA retaliation claim; is that correct?
 5              A       Correct.
 6              Q       So let's talk about your age
 7      discrimination claim.            So it's your contention
 8      in your second amended complaint that you were
 9      discriminated against on the basis of your age;
10      is that correct?
11              A       Correct.
12              Q       All right.         And I believe you've
13      identified John Stein thus far.                  Is there anyone
14      else other than John Stein you contend
15      discriminated against you on the basis of your
16      age?
17              A       No.
18              Q       And I asked you earlier what actions
19      you believe Mr. Stein took against you, and you
20      identified communications that were made, things
21      that were said by Mr. Stein, his attitude
22      towards you and places where you were relocated.
23      Is that correct?
24              A       That's correct.
25              Q       Is there any other action that you


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1       contend Mr. Stein took against you to
2       discriminate against you on the basis of your
3       age?
4               A       I believe that my ratings.
5               Q       Your ratings?
6               A       The ratings on the -- that position
7       provided to me.
8               Q       Performance evaluation ratings?
9               A       Correct.
10              Q       Okay. Anything else?
11              A       No.
12              Q       Do you know whether your performance
13      evaluation ratings had any role in the
14      termination of your employment?
15              A       I do not know.
16              Q       So in your complaint, you allege in
17      paragraph 29, that on at least two occasions in
18      2019, Mr. Stein referenced your age and asked if
19      you were considering retiring.                 Did I read that
20      correctly?
21              A       Yes.
22              Q       Do you know how old Mr. Stein is?
23              A       No.
24              Q       Do you know if Mr. Stein is older
25      than you?


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 1              A       I believe he is, yes.
 2              Q       You believe Mr. Stein is older than
 3      you?
 4              A       Yes.
 5              Q       Did Mr. Stein ever talk about his
 6      own plans to retire with you?
 7              A       No.
 8              Q       Do you know whether Mr. Stein has
 9      retired from Continental?
10              A       No.
11              Q       So I'm going to talk about the first
12      conversation that you've identified in paragraph
13      29 of your complaint.            So you allege that on at
14      least two occasions, Mr. Stein referenced your
15      age and asked if you were considering
16      retirement.      Let's talk -- talk about the first
17      occasion.      When do you allege the first
18      conversation took place with Mr. Stein?
19              A       In his office.
20              Q       Okay.      Were there any witnesses?
21              A       No.
22              Q       Okay.      And when did that
23      conversation take place?              Not where.        At what
24      point in time?
25              A       I don't know.          Do not know.


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 1              Q       Do you know if it was in 2019?
 2              A       No.
 3              Q       No, you do not know?
 4              A       No.
 5              Q       And what exactly do you allege
 6      Mr. Stein said on this first occasion?
 7              A       He wanted to know how old I was, but
 8      more importantly, he wanted to know when I was
 9      going to be leaving on retirement.                   And he did
10      it again later on when he called me over --
11              Q       We're going to talk about first
12      occasion first.
13              A       Right.
14              Q       Okay.      So he wanted to know how old
15      you were and you allege he wanted to know when
16      you were retiring.           Is that correct?
17              A       Yes.
18              Q       Did he say anything else in this
19      first conversation?
20              A       No.
21              Q       Do you know whether Mr. Stein was
22      just having a conversation with you, a friendly
23      conversation?
24              A       For sure I know because he did not
25      have those with me.


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 1              Q       Oh, Mr. Stein did not have friendly
 2      conversations with you?
 3              A       No.
 4              Q       Did Mr. Stein ever joke with other
 5      employees?
 6              A       Not that I'm aware of.
 7              Q       Do you know whether Mr. Stein joked
 8      with other employees?            Do you know one way or
 9      the other?
10              A       Not that I'm aware of, no.
11              Q       And in his first conversation, other
12      than asking you how old you were and asking you
13      when you may be retiring or leaving Continental,
14      did Mr. Stein say anything else during this
15      first conversation?
16              A       No.
17              Q       Did you report that conversation
18      that you just described with Mr. Stein to anyone
19      at Continental?
20              A       No.     I did not.
21              Q       So now I want to talk about the
22      second conversation.            When do you allege the
23      second conversation took place with Mr. Stein?
24              A       On the line.
25              Q       On the line?


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1               A       And I don't know when.
2               Q       Okay.      When you say on the line, is
3       that a production line?
4               A       Correct.
5               Q       And I believe you said you don't
6       know when this conversation took place on the
7       production line.          Is that correct?
8               A       Correct.
9               Q       Was it in 2019?
10              A       I'm not sure.          However, after that
11      conversation, I started getting moved to a
12      different location.
13              Q       And were you moved to a different
14      location in tire build?
15              A       No.
16              Q       What location were you moved to?
17              A       I believe the section is -- it's
18      actually cooking the tires.                 It's heat --
19      heat --
20              Q       Cur--- curing?
21              A       Curing.
22              Q       Okay.      So you got -- took on a
23      function in curing?
24              A       Right.
25              Q       And when you took on that function


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1       in curing, was that a permanent basis or do you
2       take that temporarily?
3               A       No.     Whenever you felt like it.
4               Q       So on occasions, you were asked to
5       fill in in curing?
6               A       Not asked.         Told.      Yes.
7               Q       And when you filled in in curing,
8       about how many occasions do you think that was?
9               A       Many.      I don't know how many, but
10      many times.
11              Q       Were you still in the role of tire
12      build operator at that time when you were --
13              A       Correct.
14              Q       -- performing in curing?
15              A       Yes.
16              Q       Did your pay ever change?
17              A       No.
18              Q       And you believe the conversation
19      took place on a production line.                  Were there any
20      witnesses to the conversation?
21              A       No.
22              Q       And what exactly did Mr. Steff---
23      Stein say in the second conversation that you
24      believe occurred on the production line?
25              A       Similar to the same thing.                 When are


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1       you -- how old are you?            When are you going to
2       retire?
3               Q       Did Mr. Stein say anything else
4       during the second conversation that you believe
5       occurred on the production line?
6               A       Yes.
7               Q       What else did he say?
8               A       That I don't look my age.
9               Q       Do you know if Mr. Stein was
10      suggesting you looked younger than your age?
11              A       I don't know.
12              Q       You don't know what Mr. Stein meant
13      by the comment?
14              A       Correct.
15              Q       Did you report the second
16      conversation that you believe occurred on the
17      production line to anyone at Continental?
18              A       I did not.
19              Q       Now, in paragraph 30 of your second
20      amended complaint, you state that Mr. Stein
21      called you, quote, an old man.                Did I read that
22      correctly?
23              A       Yes.
24              Q       In what conversation did Mr. Stein
25      call you an old man?


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 1              A       In the morning times we would
 2      meet -- the whole group and we'd get back these
 3      are things we need to do and pair up with your
 4      partner and go to your machines.                 And I was
 5      walking when he called me old man, don't go to
 6      your machine, you need to come with me.
 7              Q       And --
 8              A       At that time, he took me to another
 9      section, which is repair.
10              Q       So on how many occasions do you
11      contend Mr. Stein called you an old man?
12              A       Two or three.
13              Q       And do you recall when, not where,
14      but when these conversations occurred?
15              A       I don't know the dates, no.
16              Q       Do you know if they were in 2019?
17              A       I'm not certain.
18              Q       So sitting here today, you don't
19      know when these conversations occurred?
20              A       Correct.
21              Q       Do you know if there were any
22      witnesses to any of these occasions where you
23      contend Mr. Stein referred to you as old man?
24              A       I don't remember if anyone -- no.
25              Q       You don't know if there were any


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 1      witnesses?
 2              A       I don't know who they were.                There
 3      were witnesses, but I don't know who they are.
 4      They were there.
 5              Q       And when you say they were there,
 6      are these individuals that were just aron---
 7      around in the vicinity?
 8              A       These were working people, daily
 9      workers that I worked with.
10              Q       So folks that you worked with in and
11      around the plant?
12              A       Correct.
13              Q       And you don't know who would have
14      heard it?
15              A       I'm certain many people heard, but I
16      don't know the names of the individuals.                       I was
17      only close to one or two people.
18              Q       And in the time your employment
19      terminated, where did Mister -- was Mr. Stein
20      still employed at Continental?
21              A       I don't know.
22              Q       Earlier, when I asked you to
23      identify what actions Mr. Stein had taken
24      against you on the basis of your age, you -- one
25      of the things that you had identified was that


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 1              Q       Is this your belief, Mr. Washington?
 2              A       I think it's based on past
 3      performance as a company.
 4              Q       And --
 5              A       That's my belief, yes.
 6              Q       That's your belief?
 7              A       It is.
 8              Q       Is there any other basis for your
 9      age discrimination claim other than what we've
10      talked about today?
11              A       No, ma'am.
12              Q       Did anyone at Continental ever tell
13      you that your employment was terminated because
14      of your age?
15              A       No.
16              Q       I believe we talked earlier today
17      about the fact that you applied for unemployment
18      benefits when you were -- back when your
19      employment terminated from Continental.                     Is that
20      correct?
21              A       Yes.
22              Q       Do you recall what you were earning
23      from Continental in an hourly rate at the time
24      your employment ended?
25              A       I have to state this here, no.                   You


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1       wanted to come back.            The 23rd is when I said I
2       was going to come back.             They told me not to
3       come back in, so it had to have been the 24th.
4               Q       Do you know if your employment
5       terminated on April the 24th, 2019?
6               A       That's a yes.
7               Q       How do you know that your employment
8       did not terminate on April the 24th, 2019?
9               A       What was that?
10              Q       Do you know whether your employment
11      terminated on April the 24th, 2019?
12              A       Yes.
13              Q       Okay.      How -- how do you know that?
14              A       Because the day that I wanted to
15      come back to work, I had told them because they
16      said do what you needed to do to you take of
17      your family.         I said I'll be ready to come back
18      on the 23rd.         When I happened to come back on
19      the 23rd, I called.           Based on that information,
20      I was told that you -- you will be speaking with
21      Clayton.     And once I had spoken with him, he
22      said not to come in.            I'm pretty sure that was
23      the day after.         I believe that's when it was, to
24      my best recollection.
25              Q       Do you know --


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1               A       Yes.
2               Q       -- one way or the other whether the
3       conversation that you have described with
4       Clayton Tucker occurred on April the 24th, 2019?
5               A       Oh, for sure.         I do know I -- I
6       spoke with him, yes.
7               Q       On April the 24th, 2019?
8               A       24th, yes.
9               Q       And now, you're also asked here to
10      indicate who discharged you and you provide a
11      name of Nicole per Clayton?
12              A       Correct.
13              Q       Okay.     And help me understand what
14      you meant when you identified that -- when you
15      wrote in this box Nicole per Clayton?
16              A       When I called, that person couldn't
17      contact me.      So this person, Nicole, called me
18      and says Clayton will call you.                 I believe
19      that's -- was what he -- she tied it into him.
20      But one way or another, I could not get directly
21      to him.     And I'm not sure if he -- he called me
22      and she had put me on hold or what have you, but
23      she was involved in me actually talking with
24      this individual.
25              Q       And --


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